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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE G$qu!3 PHF?:S?
WESTERN DIVISION '

MARTHA OWENS, as next of friend )
of IDA TAYLOR, deceased, and on )
behalf of the wrongful death )
beneficiaries of IDA TAYLOR, )

)

Plaintiff,
vs.

)

)

)

)
KINDRED HEALTHCARE SERVICES, )
INC., KINDRED HEALTHCARE )
OPERATING, INC., KINDRED NURSING)
CENTER LIMITED PARTNERSHIP )
d/b/a SPRING GATE )
REHABILITATION AND HEALTHCARE )
CENTER; RENEE B. TUTOR, in )
her capacity as Administrator )
Of SPRING GATE REHABILITATION )
HEALTHCARE CENTER,; DEBORAH )
ANNE HANSBROUGH, in her capacity)
as Administrator of SPRING )
GATE REHABILITATION HEALTHCARE )
CENTER; and ANGELA KAY )
MCCOLLOUGH, in her capacity as )
Administrator of SPRING GATE )
REHABILITATION HEALTHCARE CENTER)
)

Defendants.

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No. 04‘2928 BV

 

ORDER GRANTING DEFENDANTS' MOTION FOR A PROTECTIVE ORDER

 

Before the court is the May 23,

2005 motion of the defendants,

Renee B. Tutor, Deborah Ann Hansbrough, and Angela Kay McCollough,

pursuant to Federal Rule of Civil Procedure 26(c)(l), requesting

that the court enter a protective order providing that discovery

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not be had from them. This nwtion was referred to the United
States Magistrate for determination. For the following reasons,
the motion is granted.

BACKGROUND

This case was originally filed in the Circuit Court of Shelby
County. The defendants removed the case to federal court pursuant
to 28 U.S.C. § 1446. In the notice of removal, the defendants
alleged that the three individual defendants were fraudulently
joined in order to destroy the completeness of diversity of
citizenship. The plaintiff subsequently filed a motion for remand
to state court, contending that the joinder of the individual
defendants defeated diversity of citizenship and the court thus
lacked subject matter jurisdiction. In December of 2004, the
defendants filed a response opposing the nmtion for remand and
moved to dismiss the individual defendants. The motion to remand is
currently pending before United States District Judge J. Daniel
Breen.

On May 6, 2005, the plaintiff served the three individual
defendants with a first set of interrogatories and requests for
production of documents.

ANALYSIS
In Shoemake v. Kindred Nursing Centers Limited Partnership, et

al., No. 04-2835 BV, this court granted a similar protective order

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under nearly identical facts. The court reasoned as follows:

Federal Rule of Civil Procedure 26(c)(l) permits the
court to issue a protective order prohibiting discovery.
The rule allows the court to “make any order which
justice requires to protect a party or person from
annoyance, embarrassment, oppression, or undue burden or
expense . . ." Fed. R. Civ. P. 26(c).

Kindred contends that regardless of the disposition
of the motion to remand and the motion to dismiss the
individual defendants, discovery from the individual
defendants should not be had at this time. If the court
finds that the individual defendants were not
fraudulently joined, then the case will be remanded to
the state court. An order remanding this case to state
court would effectively deprive this court of
jurisdiction to order discovery. Alternatively, if the
court finds that the individual defendants were
fraudulently joined and refuses to remand the case, then
the individuals would no longer be parties subject to the
discovery rules.

Consequently, any discovery requested from
individuals who will either not be parties to this
lawsuit or who will not be under the jurisdiction of this
court would be wasteful, annoying, oppressive, and.unduly
burdensome and expensive.

[The plaintiff] contends that even if the
individuals were not parties to the action, she would
simply secure the same information requested through the
issuance of a subpeona duces tecum under Federal Rule of
Civil Procedure 45. If the court finds that the
individuals were fraudulently joined as parties, then the
case will remain in federal court, and [the plaintiff]
may pursue discovery under Rule 45 at that time.

For the foregoing reasons, the defendants’ motion for
protective order is granted in this case. The plaintiff shall not
have discovery under Federal Rule of Civil Procedure 26, 33, 34,

35,r or 36 from Renee B. Tutor, Deborah Ann Hansbrough, and Angela

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Kay McCollough until resolution of the pending motions to remand
and to dismiss. All other discovery may proceed.

IT IS SO ORDERED this 13th day of June, 2005.

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DIANE K. VESCOVO
UNITED STATES M.AGISTRATE JU'DGE

 

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This notice confirms a copy of the document docketed as number 31 in
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CIRCUIT COURT, 30TH .TUDICIAL DISTRICT

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Honorable J. Breen
US DISTRICT COURT

